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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
               v.                             :       Case No. 21-CR-246-ABJ
                                              :
DANIEL RODRIGUEZ,                     :
                                              :
                       Defendant.             :

          UNITED STATES’ MOTION TO SET STATUS CONFERENCE DATE
            AND TO EXCLUDE TIME UNDER THE SPEEDY TRIAL ACT

       The United States of America respectfully requests that this Court set a status conference

in the above-referenced case and exclude the time from May 17, 2021 until the date of that

conference from the time within which the trial must commence under the Speedy Trial Act, 18

U.S.C. § 3161 et seq. The defendant was arrested on March 31, 2021 in the Central District of

California, and his initial appearance occurred in that District on the same day. On April 23, 2021,

Magistrate Judge G. Michael Harvey ordered the defendant transported to the District of Columbia

by the U.S. Marshals Service, and the Court set a status conference for May 17, 2021. Judge

Harvey excluded time under the Speedy Trial Act until May 17, 2021 to allow for the defendant’s

transport to the District of Columbia. However, the defendant did not arrive in the District of

Columbia until June 10, 2021. The United States now respectfully requests that the Court re-

schedule the May 17, 2021 status conference and exclude the time from May 17, 2021 through the

date of that hearing because the ends of justice served by taking such actions outweigh the best

interest of the public and the defendant in a speedy trial pursuant to the factors described in 18

U.S.C. § 3161(h)(7)(A) and (B)(i). In support of this motion, the government states as follows:

       On March 24, 2021, a grand jury returned an eight-count indictment against the defendant

for his role in the riot at the U.S. Capitol on January 6, 2021. Seven of these charges are felonies:
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Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title 18, United

States Code, Sections 1512(c)(2) and 2; Civil Disorder, in violation of Title 18, United States Code,

Section 231(a)(3); Assaulting a Federal Office, in violation of 18 U.S.C. § 111(a)(1) and (b);

Destruction of Government Property, in violation of 18 U.S.C. § 1361; Entering and Remaining

in a Restricted Building or Grounds with a Deadly or Dangerous Weapon, in violation of Title 18,

United States Code, Section 1752(a)(1) and (b)(1)(A); Disorderly and Disruptive Conduct in a

Restricted Building or Grounds with a Deadly or Dangerous Weapon, in violation of Title 18,

United States Code, Section 1752(a)(2) and (b)(1)(A); and Impeding Ingress and Egress in a

Restricted Building or Grounds with a Deadly or Dangerous Weapon, in violation of 18 U.S.C.

§ 1752(a)(3) and (b)(1)(A). See Dkt. 1. One charge is a misdemeanor: Theft of Government

Property, in violation of 18 U.S.C. § 641. See id.

       The defendant is alleged to have entered the U.S. Capitol’s restricted grounds on January

6, 2021 with an electroshock weapon and a flagpole and interfered with an officer of the

Metropolitan Police Department who was attempting to keep rioters out of the U.S. Capitol

building. See id. In doing so, the defendant physically assaulted that officer with an electroshock

weapon, causing the officer injuries. See id. The defendant is further alleged to have entered the

Capitol building through a broken window, smashed a window from inside the Capitol in an effort

to enable other rioters to enter the building, and to have stolen an emergency escape hood from the

building. See id. The defendant is further alleged to have committed these acts for the purpose of

interfering with the joint session of Congress that was certifying the 2020 Presidential Election

results. See id.

       The defendant was arrested on March 31, 2021 in Fontana, California. He had an initial

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appearance pursuant to Fed. R. Crim. P. 5(c)(2) in the Central District of California on March 31,

2021 and a detention hearing before the same court on April 2, 2021. Dkt. 8, at 24. Magistrate

Judge G. Michael Harvey set a status conference for the ascertainment of counsel on April 23,

2021, which the defendant attended remotely. Dkt. 10. Following that hearing, Magistrate Judge

Harvey ordered the U.S. Marshals Service to transport the defendant to the District of Columbia

so that he could appear before this Court at a status hearing on May 17, 2021. Dkt. 12. Judge

Harvey tolled time under the Speedy Trial Act between April 23, 2021 and May 17, 2021 so that

the defendant could be transported to D.C. for the May 17, 2021 hearing. See Minute Entry, April

23, 2021. On March 25, 2021, the government sent a courtesy copy of Judge Harvey’s transport

order to the Marshals’ Service office in the Central District of California.

       On May 14, 2021, the Court notified the parties that the Marshals Service had not yet

transported the defendant to the District of Columbia. As a result, the Court vacated the May 17,

2021 status hearing. See Minute Order, May 14, 2021.

       On May 26, 2021, in response to an inquiry from the government, the Court notified the

parties that the facility at which the defendant was detained in California had not yet responded to

inquiries into setting up a virtual status conference with the Court.

       On June 10, 2021, the government received a notice from the U.S. Marshals Service that

the defendant had arrived in the District of Columbia. The same day, the government notified the

Court of the defendant’s arrival.

       The United States now files the instant motion, seeking a new date for the vacated May 17,

2021 status conference in this case. In addition, the United States also moves the Court to exclude

time under the ends-of-justice provisions of the Speedy Trial Act from the vacated May 17, 2021

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status hearing date until the new date set for that hearing. Section 3161(h) of the Speedy Trial Act

sets forth certain periods of delay which the Court must exclude from the computation of time

within which a trial must commence. As is relevant to this motion for a continuance, pursuant to

subsection (h)(7)(A), the Court must exclude:

       Any period of delay resulting from a continuance granted by any judge on his own
       motion or at the request of the defendant or his counsel or at the request of the
       attorney for the Government, if the judge granted such continuance on the basis of
       his findings that the ends of justice served by taking such action outweigh the best
       interest of the public and the defendant in a speedy trial.

18 U.S.C. § 3161(h)(7)(A). Subsection (h)(7)(B) sets forth a non-exhaustive list factors that the

Court must consider in determining whether to grant an ends-of-justice continuance, including

“[w]hether the failure to grant such a continuance in the proceeding would be likely to make a

continuation of such proceeding impossible, or result in a miscarriage of justice.” 18 U.S.C.

§ 3161(7)(B)(i).

       Here, Judge Harvey excluded time under the Speedy Trial Act to allow for the defendant’s

transport from the Central District of California to the District of Columbia. Despite efforts by the

United States and the Court to facilitate the defendant’s prompt transport and/or to appear virtually

from another facility before the Court, additional time was necessary to transport the defendant to

the District of Columbia. Accordingly, the period of excluded time allotted by Judge Harvey

should be expanded to account for the additional time required to bring the defendant before the

Court here in the District of Columbia.

       WHEREFORE, now that the defendant has arrived in the District of Columbia, the

government respectfully requests that the Court re-schedule the vacated May 17, 2021 status

conference and exclude the time from May 17, 2021 until that status conference from the time

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within which the trial must commence under the Speedy Trial Act, 18 U.S.C. § 3161 et seq., on

the basis that the ends of justice served by taking such actions outweigh the best interest of the

public and the defendant in a speedy trial pursuant to the factors described in 18 U.S.C. §

3161(h)(7)(A) and (B)(i).

                                             Respectfully submitted,

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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
       v.                                    :       Case No. 21-cr-246 (ABJ)
                                             :
                                             :
DANIEL RODRIGUEZ                             :
                                             :
                      Defendant.             :


                     ORDER SETTING STATUS HEARING AND
                 EXCLUDING TIME UNDER THE SPEEDY TRIAL ACT

       Having received the government’s Motion to Set a Status Conference Date and to Exclude
Time under the Speedy Trial Act, IT IS HEREBY ORDERED THAT:
       A status conference in this case will be held on ____ day of ____, 2021.
       The time from May 17, 2021 through the date of this status conference shall be excluded
from the calculation of time under the Speedy Trial Act because the ends of justice served by
taking such actions outweigh the best interest of the public and the defendant in a speedy trial
pursuant to the factors described in 18 U.S.C. § 3161(h)(7)(A) and (B)(i).


       SO ORDERED this _____ day of ____________________, 2021.



                                             _____________________________________
                                             HON. AMY BERMAN JACKSON
                                             UNITED STATES DISTRICT COURT




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